         Case 2:21-cv-02292-BMS Document 11 Filed 04/14/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________________________________________________________

RAY ANDERSON                        :
                                    : CIVIL ACTION NO. 2:21-CV-02292
            Plaintiff               :
                                    :
            v.                      :
                                    :
LOWE’S HOME CENTERS, LLC            :
                                    :
            Defendants              :
______________________________________________________________________________


            PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR
                           SUMMARY JUDGMENT

       Plaintiff, Ray Anderson (“Plaintiff”), by an through his undersigned counsel hereby

opposes the Defendant’s Motion for Summary Judgment. In support of its Opposition, Plaintiff

relies upon the accompanying Memorandum of Law and Statement of Disputed Facts, the

contents of which are incorporated by reference herein.

                                                  LAW OFFICES OF ERIC A. SHORE, P.C.



                                                    BY:__/s/Graham F. Baird____________
                                                     GRAHAM F. BAIRD, ESQUIRE
                                                     Two Penn Center
                                                     1500 JFK Boulevard, Suite 1240
                                                     Philadelphia, PA 19102

                                                    Attorney for Plaintiff, Ray Anderson


Date: April 14, 2022
        Case 2:21-cv-02292-BMS Document 11 Filed 04/14/22 Page 2 of 2




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
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RAY ANDERSON                        :
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            Plaintiff               :
                                    :
            v.                      :
                                    :
LOWE’S HOME CENTERS, LLC            :
                                    :
            Defendants              :
______________________________________________________________________________


                             CERTIFICATE OF SERVICE

      On April 14, 2022, the undersigned served the foregoing Opposition to the Defendant’s

Motion for Summary Judgment via ECF Service upon the following:

Charlene Gedeus, Esquire
Buchanan Ingersoll & Rooney, P.C.
Two Liberty Place
Suite 3200
Philadelphia, PA 19102
Charlene.gedeus@bipc.com



                                          LAW OFFICES OF ERIC A. SHORE, P.C.

                                          BY:____/s/Graham F. Baird__________
                                          GRAHAM F. BAIRD, ESQUIRE
                                          Attorneys for Plaintiff, Ray Anderson
